                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 D.V.D.; M.M.; E.F.D.; and O.C.G.,

               Plaintiffs,                                 Case No. 25-cv-10676

                   v.

 U.S. DEPARTMENT OF HOMELAND SECURITY;                     DECLARATION OF
 Kristi NOEM, Secretary, U.S. Department of                TRINA REALMUTO IN
 Homeland Security, in her official capacity; Pamela       SUPPORT OF
 BONDI, U.S. Attorney General, in her official             PLAINTIFFS’ MOTION
 capacity; and Antone MONIZ, Superintendent,               FOR CLASS
 Plymouth County Correctional Facility, in his official    CERTIFICATION
 capacity,

               Defendants.


I, Trina Realmuto, hereby declare:

        1.      I am an attorney admitted in the States of New York and California. I am the

Executive Director of the National Immigration Litigation Alliance (NILA). I am counsel of

record for the Individual Plaintiffs in this case.

        2.      I am admitted to practice before the following federal courts: the United States

District Courts for the Eastern, Southern and Northern Districts of New York; the United States

District Courts for the Northern, Southern, Eastern and Central Districts of California; the

United States District Court for the District of Connecticut; the United States District Court for

the District of Vermont; the United States Courts of Appeals for the First, Second, Third,

Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, Tenth, Eleventh and District of Columbia Circuits;

and the U.S. Supreme Court. I have appeared, and/or am appearing, pro hac vice in cases

before the U.S. District Courts for the Northern District of Georgia, the Southern District of

Texas, the District of Columbia, the Middle District of Tennessee, the District of




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Massachusetts, the Western District of North Carolina, the Northern District of Iowa, the

Western District of Washington, and the District of Arizona.

       3.      I began working in immigration law in 1997, first as an associate attorney at the

law firm of Van Der Hout & Brigagliano (now Van Der Hout LLP), later as an attorney

consultant to the American Immigration Law Foundation (now the American Immigration

Council), and then, from 2009 to 2017, as a Staff Attorney and then Litigation Director for the

National Immigration Project of the National Lawyers Guild. From September 2017 to May

2020, I was a Directing Attorney of Litigation at the American Immigration Council. Since that

time, I have been NILA’s Executive Director.

       4.      I have extensive experience in litigation focusing on immigrants’ rights. Some

of the cases I have successfully litigated on behalf of noncitizens are Hassine v. Johnson, 53 F.

Supp. 3d 1297 (E.D. Cal. 2014) (granting attorneys’ fees under the Equal Access to Justice Act

after prevailing on petition to adjudicate naturalization application); Nat’l Immigr. Project of

the Nat’l Laws. Guild v. DHS., 868 F. Supp. 2d 284 (2012) (granting summary judgment and

ordering government to produce further disclosures in Freedom of Information Act action

seeking records related to process of facilitating the return of noncitizens who prevailed upon

judicial review); James v. Garland, 16 F.4th 320 (1st Cir. 2021) (vacating BIA’s order of

dismissal for failure to consider whether petitioner’s circumstances warranted equitable tolling

claim of administrative appeal deadline); and DeCarvalho v. Garland, 18 F.4th 66 (1st Cir.

2021) (remanding case for particularly serious crime analysis and to provide the agency with an

opportunity to reconsider its view on drug trafficking offenses).

       5.      I have litigated numerous cases as amicus counsel. I have successfully argued




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 the following cases as amicus counsel in which courts invalidated the regulation barring

 review over motions filed after noncitizen departs the United States: Perez Santana v. Holder,

 731 F.3d 50 (1st Cir. 2013); Pruidze v. Holder, 632 F.3d 234 (6th Cir. 2011); Reyes-Torres v.

 Holder, 645 F.3d 1073 (9th Cir. 2011); Contreras-Bocanegra v. Holder, 678 F.3d 811 (10th

 Cir. 2012) (en banc) (invalidating regulation barring review over motions filed after

 noncitizen departs the United States). I have also successfully argued the following cases as

 amicus counsel: Attipoe v. Barr, 945 F.3d 76 (2d Cir. 2019) (finding deadline for filing an

 administrative appeal to the BIA is subject to equitable tolling); Lugo-Resendez v. Lynch, 831

 F.3d 337 (5th Cir. 2016) (establishing that the deadline for motions to reopen may be

 equitably tolled).

       6.      In addition, I have successfully moved for class certification and been approved

by federal courts as class counsel in several class actions on behalf of noncitizens, including the

following cases: Duran Gonzales v. U.S. Dep’t of Homeland Sec., 712 F.3d 1271 (9th Cir.

2013) (circuit-wide certification) (successfully challenging retroactivity of agency decision to

individuals previously eligible for adjustment of status); Mendez Rojas v. Johnson, 305 F.

Supp. 3d 1176 (W.D. Wash. 2018) (nationwide certification) (granting summary judgment for

plaintiffs and ordering the government to provide notice and opportunity to comply with the

one-year filing deadline for asylum applications); Rosario v. U.S. Citizenship & Immigr. Servs.,

No. 2:15-cv-00813-JLR (W.D. Wash. July 26, 2018) (nationwide certification) (granting

summary judgment for plaintiffs and ordering the government to timely adjudicate employment

authorization document applications); Wagafe v. Trump, No. 2:17-cv-00094-RAJ, 2017 WL

2671254 (W.D. Wash. June 21, 2017) (granting nationwide certification in case challenging




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application of the Controlled Application Review and Resolution Program to naturalization and

adjustment of status applicants); Padilla v. U.S. Immigr. & Customs Enf’t, No. 2:18-cv-00928-

MJP, 2019 WL 1056466 (W.D. Wash. Mar. 6, 2019) (granting nationwide class certification in

case challenging delays in credible fear and bond hearing delays); Nightingale v. U.S.

Citizenship & Immigr. Servs., 507 F. Supp. 3d 1193 (N.D. Cal. 2020) (granting nationwide

permanent injunction in case challenging agency failure to respond to requests for immigration

case files under the Freedom of Information Act); Garcia Perez v. U.S. Citizenship & Immigr.

Servs., No. 2:22-cv-00806-JHC (W.D. Wash. filed July 29, 2022) (granting nationwide class

certification in case challenging agency policies preventing asylum seekers from obtaining

work authorization); and Mansor et al. v. U.S. Citizenship & Immigr. Servs., 345 F.R.D. 193

(W.D. Wash. 2023) (granting nationwide class certification in case challenging agency failure

to provide employment authorization documentation to noncitizens applying for Temporary

Protected Status at the time their prima facie applications are filed).

       7.      In 2015, the American Immigration Lawyers Association awarded me the Jack

Wasserman Memorial Award for Excellence in Litigation. I was the 2024 recipient of the Sarah

B. Ignatius Award for Justice and Excellence in Law given by the Political Asylum /

Immigration Representation Project.

       8.      Mary Kenney, who also represents Plaintiffs, works with me as the Deputy

Director of the National Immigration Litigation Alliance. She was admitted to the West

Virginia Bar in 1983 (where she remains in inactive status) and to the District of Columbia Bar

in 2017 (where she remains in active status). She is admitted to practice before the United

States District Courts for the District of Columbia, the Eastern District of Wisconsin, the




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Northern District of Texas; the U.S. Courts of Appeals for the First, Second, Third, Fourth,

Fifth, Sixth, Seventh, Eighth, Ninth, Tenth, and Eleventh Circuits; and the U.S. Supreme Court.

In the past, she was admitted to practice in the Western District of Texas and the Northern

District of West Virginia. She has appeared, and/or is appearing, pro hac vice in cases before

the U.S. District Courts for the District of Arizona, the Central and Northern Districts of

California, the District of Maryland, the District of Massachusetts, the District of Minnesota,

the Eastern and Southern Districts of New York, the Middle District of North Carolina, the

Southern District of Texas, the District of Vermont, and the Western District of Washington.

       9.      Ms. Kenney has practiced law continuously since graduating from law school in

1983. She worked at the Legal Aid Society in Morgantown, West Virginia from 1983 to 1994;

then began practicing immigration law while serving as the Executive Director of the Lawyers

Committee for Civil Rights Under Law of Texas in San Antonio, Texas, from 1994 until 2001.

She worked as a consultant from 2001 until 2003 with what was then named the American

Immigration Law Foundation, now the American Immigration Council. She was hired at what

is now the American Immigration Council in 2003 and worked there until early June 2020,

until she began working at the National Immigration Litigation Alliance.

       10.     Ms. Kenney has litigated or is litigating immigration-related cases before federal

district courts in the District of Columbia, the Eastern District of Wisconsin, the Northern,

Southern, and Western Districts of Texas, the District of Maryland, the District of Minnesota,

the Northern District of California, the District of Arizona, the Eastern District of New York;

the Southern District of New York; the District of Vermont; the Middle District of North

Carolina; and the Western District of Washington; and the Courts of Appeals for the Fifth,




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Eighth, and Ninth Circuits. She has litigated or is litigating cases on behalf of amici curiae

before the U.S. Supreme Court, all U.S. Courts of Appeals except the Court of Appeals for the

District of Columbia, and several district courts.

       11.     Ms. Kenney has served as counsel in numerous class actions on behalf of

noncitizens, including Nightingale v. U.S. Citizenship & Immigr. Servs., 507 F. Supp. 3d 1193

(N.D. Cal. 2020) (granting nationwide permanent injunction in case challenging agency failure

to respond to requests for immigration case files under the Freedom of Information Act);

Garcia Perez v. U.S. Citizenship & Immigr. Servs., No. 2:22-cv-00806-JHC (W.D. Wash. filed

July 29, 2022) (granting nationwide class certification in case challenging agency policies

preventing asylum seekers from obtaining work authorization); Mansor et al. v. U.S.

Citizenship & Immigr. Servs., 345 F.R.D. 193 (W.D. Wash. 2023) (granting nationwide class

certification in case challenging agency failure to provide employment authorization

documentation to noncitizens applying for Temporary Protected Status at the time their prima

facie applications are filed); Madkudu Inc. v. U.S. Citizenship & Immigr. Servs., No. 20-cv-

02653-SVK, 2020 WL 7389419 (N.D. Cal. Nov. 17, 2020) (granting certification to nationwide

class of petitioners for H-1B visas in challenge to pattern of denials); Unknown Parties v.

Nielsen, No. CV-15-00250-Tuc-DCB, 2020 WL 813774 (D. Ariz. Feb. 19, 2020) (granting

permanent injunction to class of present and future detainees subject to unconstitutional

conditions in immigration custody); Mendez Rojas v. Johnson, 305 F. Supp. 3d 1176 (W.D.

Wash. 2018) (nationwide certification) (granting summary judgment for plaintiffs and ordering

the government to provide notice and opportunity to comply with the one-year filing deadline

for asylum applications); Brown v. U.S. Customs & Border Prot., 132 F. Supp. 3d 1170 (N.D.




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Cal. 2015) (denying motion to dismiss in nationwide challenge to delays in FOIA processing);

A-B-T- v. U.S. Citizenship & Immigr. Servs., No. 2:11-cv-02108-RAJ, 2013 WL 5913323

(W.D. Wash. Nov. 4, 2013) (granting class action settlement in nationwide challenge to asylum

work authorization denials); Ngwanyia v. Ashcroft, 376 F. Supp. 2d 923 (D. Minn. 2005)

(approving settlement for nationwide class of asylees seeking lawful permanent residence); id.,

302 F. Supp. 2d 1076 (D. Minn. 2004) (granting partial summary judgment); id., 2003 WL

131733 (D. Minn. Jan. 14, 2003) (granting certification to nationwide class); Berhea v. Reno,

No. 4:96-cv-01093 (S.D. Tex. filed Apr. 4, 1996) (nationwide class action on behalf of refugees

seeking to have their spouses and children join them in the U.S.); and Cedillo-Perez v. Immigr.

& Naturalization Serv., No. 4:94-cv-02461 (S.D. Tex. filed July 20, 1994) (putative class

action on behalf of noncitizens subject to immigration enforcement by local police and

immigration agents).

       12.     In 2014, Ms. Kenney awarded the Carol Weiss King Award by the National

Immigration Project of the National Lawyers Guild for my impact litigation work. In 2021, the

American Immigration Lawyers Association awarded me the Jack Wasserman Memorial

Award for Excellence in Litigation.

       13.     Kristin Macleod-Ball, who also represents Plaintiffs, works with me as a Senior

Staff Attorney at the National Immigration Litigation Alliance. She was admitted to the New

York Bar in 2015 and is admitted to practice before the U.S. Supreme Court, the U.S. Courts of

Appeals for the First, Second, Third, Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, Tenth,

Eleventh, and D.C. Circuits, and the U.S. District Courts for the Eastern, Southern, and

Northern Districts of New York, and the District of Vermont.




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       14.        Ms. Macleod-Ball graduated from Yale Law School in 2012 and previously

worked at the American Immigration Council and the National Immigration Project of the

National Lawyers Guild.

       15.        Ms. Macleod-Ball has experience litigating class actions involving immigrants’

rights. See, e.g., Padilla v. U.S. Immigration and Customs Enforcement, No. C18-928 MJP

(W.D. Wash.) (nationwide certification); Wagafe v. Trump, No. 2:17-cv-00094-RAJ (W.D.

Wash.) (nationwide certification); Mendez Rojas v. Johnson, No. 2:16-cv-01024-RSM (W.D.

Wash.) (nationwide certification); J.E.F.M. v. Lynch, No. 2:14-cv-1026-TSZ (W.D. Wash.)

(Ninth Circuit-wide certification); Mansor et al. v. U.S. Citizenship & Immigr. Servs., 345

F.R.D. 193 (W.D. Wash. 2023) (nationwide certification); and Garcia Perez v. U.S. Citizenship

& Immigr. Servs., No. 2:22-cv-00806-JHC (W.D. Wash. filed July 29, 2022) (granting

nationwide class certification).

       16.        Tomas Arango works at the National Immigration Litigation Alliance as a

litigation fellow and represents Plaintiffs. He was admitted to the Massachusetts Bar in 2024

and is admitted to practice before the U.S. District Court for the District of Massachusetts. Mr.

Arango graduated from Harvard Law School in 2024. During law school he worked as a

student advocate at Harvard’s Immigration and Refugee Clinic, representing immigrant clients

and drafting briefing for ongoing district court litigation concerning immigration detention

conditions. In this role, Mr. Arango argued before the Fourth Circuit Court of Appeals. He has

also completed internships in immigration-related litigation with the Northwest Immigrant

Rights Project’s Impact Litigation Unit and the American Civil Liberties Union’s Immigrants’

Rights Project.




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       17.     Neither I nor any co-counsel are receiving reimbursement from individual

plaintiffs or class members in this case. All counsel in this case are qualified and capable of

adequately and fairly protecting the interests of the individual plaintiffs and the proposed class

and possess the commitment and resources to prosecute the case as a class action.



       I declare under penalty of perjury that the foregoing is true and correct. Executed this

23rd day of March 2025 in Brookline, Massachusetts.



                                              By:     s/Trina Realmuto
                                                      Trina Realmuto




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